                             Case 2:17-cv-13297 Document 2-1 Filed 12/19/17 Page 1 of 5 PageID: 30
                                                        Exhibit A to the Complaint
Location: Passaic, NJ                                                                                 IP Address: 96.234.16.217
Total Works Infringed: 82                                                                             ISP: Verizon Fios
 Work        Hash                                        Site                UTC          Published         CRO App. File   CRO Number
                                                                                                            Date
 1           9FABAA8032C69E202ECED8FF3198AF7BAC0EB395    Blacked             10/07/2017   10/07/2017        10/22/2017      PA0002058300
                                                                             21:13:42
 2           005F68E32C85041A13A7F8F17E771403D061FE95    Vixen               10/13/2017   10/11/2017        10/22/2017      15918925932
                                                                             01:51:57
 3           02468FB5936B82D569B3718F48FF71EEBE6C9E14    Tushy               07/06/2017   07/05/2017        07/06/2017      PA0002041555
                                                                             04:51:22
 4           05D9E9EB431AEF78D0BD2E16B66F558D4839A3BC    Tushy               08/10/2017   08/09/2017        08/17/2017      15732986259
                                                                             00:29:29
 5           09B9C5FACBCDCF8A9F1FBD28C523B2AB2C55516D    Tushy               07/16/2017   07/15/2017        08/10/2017      15711014757
                                                                             17:23:20
 6           0C38052DA135D91590C9D84E79AC21628D9E9BB6    Tushy               09/24/2017   09/23/2017        10/02/2017      15893930182
                                                                             06:05:40
 7           0F4CB5BFE31D785D0469C73F83F7CEB7AF0E1F9B    Blacked             11/08/2017   11/06/2017        11/15/2017      16013342719
                                                                             01:41:04
 8           1487A26EAAAD70318258AB9F506506A8F293533A    Blacked             06/15/2017   05/05/2017        06/15/2017      PA0002037591
                                                                             03:46:59
 9           1525672E90493326CE884D0054D9B81C2026954C    Blacked             08/24/2017   08/23/2017        08/24/2017      15894022831
                                                                             06:31:48
 10          1702BF88C607938862AD5AD08D3799C7A76C4EC1    Vixen               11/08/2017   11/05/2017        11/15/2017      16016503631
                                                                             01:34:44
 11          1C2C06D480942F4FE7FDCED4759E93805E02B54B    Tushy               05/22/2017   05/21/2017        06/22/2017      PA0002039282
                                                                             20:29:32
 12          1D63168E762F9CB41AE4DBD6646599AD0EFF3911    Blacked             07/10/2017   07/09/2017        08/17/2017      15732782151
                                                                             02:14:22
 13          22883186DAB5FCA92C8513AD939652BCB867FD5C    Tushy               08/19/2017   08/19/2017        08/24/2017      15894022311
                                                                             20:50:10
 14          23C75D98A22B6821F255E85F2ED58CC5CEC8E2DD    Blacked             09/28/2017   09/27/2017        10/10/2017      PA0002057451
                                                                             02:21:08
 15          258961E123E520633A96CDF11E8E6F60E233C816    Vixen               07/24/2017   07/23/2017        08/10/2017      PA0002046877
                                                                             04:33:40
 16          289FE7D65DFCFACB416832D12862105A2762841A    Blacked             05/10/2017   05/10/2017        06/22/2017      PA0002039285
                                                                             23:34:06
                       Case 2:17-cv-13297 Document 2-1 Filed 12/19/17 Page 2 of 5 PageID: 31
Work   Hash                                       Site         UTC          Published    CRO App. File   CRO Number
                                                                                         Date
17     28F94F30A942C1A433243BEF5077E036528DDAF8   Blacked Ra   11/15/2017   11/08/2017   11/21/2017      16013185382
                                                               21:03:26
18     2FE5A77075580DAA4C39306919575DCDAA4749C9   Blacked      05/22/2017   05/20/2017   06/22/2017      PA0002039289
                                                               20:31:19
19     30345D06651108177F2FCFB7EAA6B92BE2D5BD56   Vixen        11/11/2017   11/10/2017   11/21/2017      16013343018
                                                               12:39:01
20     31577E16E1B68BF13F30BE538E1BAF66E224726A   Tushy        07/30/2017   07/30/2017   08/11/2017      15711086778
                                                               23:49:31
21     3637879FCB7A309DC4BA4B9F7C2D9FB1905E7544   Tushy        09/29/2017   09/28/2017   10/10/2017      15894022733
                                                               02:27:36
22     4041A516DB827CD9A0CF3FD55E7FD4B76262C94E   Blacked      07/04/2017   07/04/2017   07/06/2017      15584063685
                                                               19:40:32
23     4699FA70336C7253C0D4CA0E1942A84BDCBE2AE0   Vixen        06/21/2017   06/18/2017   07/06/2017      15584691891
                                                               01:51:58
24     47BF158F64C12785E111714AF9A6D0C692778D77   Blacked      10/02/2017   10/02/2017   10/10/2017      15894022390
                                                               19:52:58
25     484CD8EDA2B801753F2051864B1E906A34C531F0   Blacked      10/13/2017   10/12/2017   10/22/2017      PA0002058296
                                                               12:48:11
26     49AC32A35FDA73ED25DC180D6DB00F409402501B   Tushy        11/08/2017   11/07/2017   11/15/2017      16013185672
                                                               01:26:28
27     4F0D3D0FD3F88791F4933080453A052BE6924F22   Tushy        10/09/2017   10/08/2017   10/22/2017      PA0002058298
                                                               00:18:46
28     4FF62836FC3C509617EE5DE7658EAABE045C0BA1   Tushy        09/14/2017   09/13/2017   09/25/2017      15894022635
                                                               02:06:11
29     5264FF1CA20A869CA00A84EF194A50DD3CD7B93A   Blacked      08/29/2017   08/28/2017   09/07/2017      PA0002052848
                                                               04:28:33
30     57265592C5C5250306EC4D4BB6CE2E5CAC8E09C5   Tushy        09/08/2017   09/08/2017   09/20/2017      PA0002052841
                                                               22:56:50
31     5CC7EFDE75DF2F2876F477C07B4A14FFB4FEE171   Tushy        06/17/2017   06/15/2017   07/06/2017      15583057198
                                                               17:07:54
32     65CF8DA2D031F334F39B20014B15DA107B9EAA15   Blacked      08/08/2017   08/08/2017   08/17/2017      15732904191
                                                               23:54:06
33     6671533EE8277923DF4254534389F8630C5BF901   Blacked      11/17/2017   11/16/2017   11/18/2017      16020392782
                                                               03:08:21
34     69AC2D8751ABF0FED5C443A1CE77A7C7529B7AC9   Vixen        05/10/2017   05/09/2017   06/22/2017      PA0002039298
                                                               00:33:04
                       Case 2:17-cv-13297 Document 2-1 Filed 12/19/17 Page 3 of 5 PageID: 32
Work   Hash                                       Site         UTC          Published    CRO App. File   CRO Number
                                                                                         Date
35     6EAAFE0F3E012E94CE6FF11EC5DFC0835CDABEA6   Blacked      07/25/2017   07/24/2017   08/11/2017      PA0002046874
                                                               02:26:14
36     7344B5FC9BC8C4F8B0FBF5BB10A6DDFBF02566AF   Tushy        06/01/2017   05/31/2017   06/22/2017      PA0002039299
                                                               10:53:04
37     766E1C71FF552FF186850DD63CC9ECC58D923874   Tushy        09/04/2017   09/03/2017   09/10/2017      PA0002052851
                                                               12:48:57
38     774A2CED1D4C60BC032A3D8767D4CB89D2EE3DB4   Tushy        07/21/2017   07/20/2017   08/11/2017      PA0002046869
                                                               01:01:42
39     7791DC7179F9F188421E3A5717EB3454762A2897   Tushy        08/30/2017   08/29/2017   09/07/2017      15894022439
                                                               07:59:32
40     7AA9EE0B623B3876BDBBB4854D311BA014697009   Blacked      11/12/2017   11/11/2017   11/21/2017      16016503414
                                                               00:37:15
41     7F60E5679CD0B8BA8E55083B48D3C62E794934D5   Tushy        05/27/2017   05/26/2017   06/22/2017      PA0002039288
                                                               02:37:13
42     84BEF1867B3EF57983478E33EBCC9E016308D060   Tushy        05/12/2017   05/11/2017   06/22/2017      PA0002039286
                                                               20:49:39
43     8F55C47AC0C8FED6F30E2C094965B3CF4749FA41   Vixen        08/28/2017   08/27/2017   09/07/2017      PA0002052843
                                                               00:40:23
44     9C80B087C925D30BA01F72FC0EAABD8EAADF588A   Blacked      08/19/2017   08/18/2017   08/24/2017      15894022488
                                                               02:38:28
45     9D29B8DA43C5063F7087D93478E6DDF9605BD22A   Tushy        10/28/2017   10/28/2017   11/15/2017      16013254281
                                                               18:56:46
46     9D5513F0563852D9FB73EDC7D6318A6BB04334D9   Tushy        09/19/2017   09/18/2017   09/28/2017      15894022252
                                                               02:26:32
47     9E1EEE10CC32609ECC2542444366C4BBDC969CB5   Vixen        09/17/2017   09/16/2017   09/25/2017      15894022913
                                                               04:44:07
48     9E401C6583C7B9748B062B00479A97B14E769848   Blacked      07/29/2017   07/29/2017   08/11/2017      PA0002046872
                                                               21:43:42
49     9E77DF7FCCB30D04DC6500C39CC3EF0AA2B48257   Blacked      09/03/2017   09/02/2017   09/07/2017      PA0002052847
                                                               03:07:03
50     9EE27A6D03A1F1066DB44789975A17DD687BC042   Vixen        11/16/2017   11/15/2017   11/21/2017      16013342550
                                                               03:49:29
51     A412B2F3E224F37D1D51CD3A100D44F9527B9132   Blacked      09/08/2017   09/07/2017   09/14/2017      PA0002052840
                                                               05:25:28
52     A5DAB5C75BEE5E7712B44AB312CC175F0E036C7B   Blacked      09/19/2017   09/17/2017   09/25/2017      15894023110
                                                               02:49:55
                       Case 2:17-cv-13297 Document 2-1 Filed 12/19/17 Page 4 of 5 PageID: 33
Work   Hash                                       Site         UTC          Published    CRO App. File   CRO Number
                                                                                         Date
53     A5FA84BEBC5D2C5A5330581452C032D90577EDC1   Tushy        08/04/2017   08/04/2017   08/17/2017      15732903865
                                                               20:05:37
54     A66737A2C0C052A322F7121CB249A59EEBB0E177   Blacked      05/31/2017   05/30/2017   06/22/2017      PA0002039295
                                                               00:31:11
55     AB2C2652EC78AC4AD337CC03DF87E970DCED6443   Blacked      06/04/2017   06/04/2017   07/06/2017      15584691223
                                                               22:10:53
56     ABDFB02F5D20E29C32ABCE90A8478787DDA3C11D   Tushy        06/11/2017   06/10/2017   07/06/2017      15583057070
                                                               02:30:39
57     ACEB9396D1442ACF5E2840310FED768E8D533EE7   Blacked      10/18/2017   10/17/2017   11/15/2017      16013343097
                                                               04:31:01
58     ADB8062F604814ECBB01C5FFBD71820E25EE3E65   Tushy        11/13/2017   11/12/2017   11/21/2017      16013342441
                                                               06:31:34
59     B0FE13ECF5F84AEAC8C53B134AC336CFB843CF0D   Blacked      10/28/2017   10/27/2017   11/15/2017      16016503839
                                                               19:06:35
60     B30A24C236439A9B2C65C9234830190BD3026085   Tushy        10/24/2017   10/23/2017   11/15/2017      16013254380
                                                               01:09:16
61     B94B97749DBE7B9883FD15D44503A0EC8711AE6A   Vixen        08/04/2017   08/02/2017   08/17/2017      15732903934
                                                               20:06:42
62     BA56E328AE2DBA8A20B327451656293E37FDAE35   Blacked      05/15/2017   05/15/2017   06/22/2017      PA0002039283
                                                               23:50:28
63     BD3608AD8FE2B70CFC22DC11CE840105B545CDFD   Tushy        07/26/2017   07/25/2017   08/11/2017      PA0002046870
                                                               02:43:10
64     C496C2BFE4C6D994F43DC665F2CBEE16FE85777A   Tushy        06/06/2017   06/05/2017   07/06/2017      15583057012
                                                               00:00:04
65     C688832FC38778E650889B646710CDEF06A10719   Blacked      07/19/2017   07/19/2017   08/11/2017      PA0002046876
                                                               23:20:29
66     CA328163FA3ADE41786B2BE2C246F9EB7AE2EEA4   Blacked      06/10/2017   06/09/2017   07/06/2017      15584064165
                                                               03:11:46
67     CB9ABC2B058CADE2FA7C0BD6A20558DC0E46EB0D   Blacked      06/21/2017   06/19/2017   07/06/2017      15584064069
                                                               02:48:07
68     D03BF7C43A2F989CD84F9B6037D4941B7C616ED0   Blacked      06/15/2017   06/14/2017   07/06/2017      15584064117
                                                               02:04:31
69     D05145D6CAA55168052E0D998AC6E235807F8E53   Blacked Ra   10/25/2017   10/24/2017   11/15/2017      16016503680
                                                               01:14:37
70     D1FC96E10BA7748B5EB03C8BF0B6C39397B9979F   Tushy        11/03/2017   11/02/2017   11/15/2017      16013254789
                                                               12:49:32
                       Case 2:17-cv-13297 Document 2-1 Filed 12/19/17 Page 5 of 5 PageID: 34
Work   Hash                                       Site         UTC          Published    CRO App. File   CRO Number
                                                                                         Date
71     D2EB460A7C696C3A9D62EDCD797DDDD07094F2D5   Blacked Ra   11/15/2017   11/13/2017   11/21/2017      16020392832
                                                               13:19:52
72     E077B1FF542F9813257F25F80DF621F1EC832879   Vixen        09/06/2017   09/06/2017   09/14/2017      PA0002052844
                                                               20:46:58
73     E45E99B667B2B843C2E1667485953197A381B5A9   Tushy        08/24/2017   08/24/2017   08/24/2017      PA0002052837
                                                               21:25:47
74     E46B81E1A71E3AC4E1FF3BC9B79FCF54E0D2AF00   Blacked      11/02/2017   11/01/2017   11/15/2017      16013342262
                                                               00:25:38
75     E624078D6EFCDFA76F06EA9E4048E05FF7C600C5   Blacked      08/04/2017   08/03/2017   08/17/2017      15732904092
                                                               06:30:36
76     E69BB37CE99BE570CC9EB659F45DDEF6E740E3BE   Blacked      08/13/2017   08/13/2017   08/17/2017      15732986356
                                                               19:12:12
77     EB2486249DE6C26072552A5E7406D85E4BE43952   Tushy        06/30/2017   06/30/2017   07/06/2017      15584063421
                                                               20:39:42
78     EB7AE91B0DD3565F29908CB6FB8ED993D709A162   Blacked      07/14/2017   07/14/2017   08/11/2017      PA0002046878
                                                               20:36:56
79     EBC75FD3F24B24A008F1CB3134B8FD15ED6A438E   Tushy        06/21/2017   06/20/2017   07/06/2017      15584063275
                                                               01:22:55
80     F058A6FF1E23261D8DEF41E92B8897C1E62EF4E2   Blacked      10/22/2017   10/22/2017   11/15/2017      PA0002063627
                                                               20:47:14
81     FD44EDB24CBD0DBFDF7E9F7D0E6A3B4451EDE702   Vixen        09/22/2017   09/21/2017   09/28/2017      15894022962
                                                               00:11:49
82     FD622BCB0843A8B0A5C4FAAD98CA90F0DC55A559   Blacked      09/23/2017   09/22/2017   10/02/2017      PA0002057455
                                                               12:30:50
